Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 1 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 2 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 3 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 4 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 5 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 6 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 7 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 8 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 9 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 10 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 11 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 12 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 13 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 14 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 15 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 16 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 17 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 18 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 19 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 20 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 21 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 22 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 23 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 24 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 25 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 26 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 27 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 28 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 29 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 30 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 31 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 32 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 33 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 34 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 35 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 36 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 37 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 38 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 39 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 40 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 41 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 42 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 43 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 44 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 45 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 46 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 47 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 48 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 49 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 50 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 51 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 52 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 53 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 54 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 55 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 56 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 57 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 58 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 59 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 60 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 61 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 62 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 63 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 64 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 65 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 66 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 67 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 68 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 69 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 70 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 71 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 72 of 73
Case 21-04731   Doc 29-1   Filed 12/20/21 Entered 12/20/21 18:59:36   Desc Exhibit
                                   Page 73 of 73
